                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,
                                                         No. 18-CR-2002 LRR
 vs.
                                               REPORT AND RECOMMENDATION
 JUSTIN LEE BRANON,

        Defendant.
                                 ____________________


       On August 1, 2018, the above-named defendant appeared before the undersigned
United States Magistrate Judge by consent and, pursuant to Federal Rule of Criminal
Procedure 11, pleaded guilty to Count One (1) of the Indictment. After cautioning and
examining defendant under oath concerning each of the subjects mentioned in Rule 11, I
determined that defendant’s decision to plead guilty was knowledgeable and voluntary,
and each offense charged was supported by an independent basis in fact containing each
of the essential elements of the offense. I therefore RECOMMEND that the Court
ACCEPT defendant’s guilty plea and adjudge defendant guilty.
       At the commencement of the Rule 11 proceeding, I placed defendant under oath
and explained that if defendant answered any question falsely, the government could
prosecute defendant for perjury or for making a false statement. I also advised defendant
that in any such prosecution, the government could use against defendant any statements
made under oath.
       I then asked defendant a number of questions to ensure defendant had the requisite
mental capacity to enter a plea. I elicited defendant’s full name, age, and extent of
education. I also inquired into defendant’s history of mental illness, use of illegal and/or




       Case 6:18-cr-02002-LRR-MAR Document 53 Filed 08/01/18 Page 1 of 5
prescription drugs and alcohol. From this inquiry, I determined defendant was not
suffering from any mental disability that would impair defendant’s ability to make a
knowing, intelligent, and voluntary guilty plea.
      Defendant acknowledged receipt of a copy of the Indictment and further
acknowledged that defendant had fully discussed the Indictment with defendant’s counsel.
Defendant acknowledged that defendant had fully conferred with defendant’s counsel
prior to deciding to plead guilty and that defendant was satisfied with counsel’s services.
      I fully advised defendant of all of the rights defendant would be giving up if
defendant decided to plead guilty, including:
      1.     The right to assistance of counsel at every stage of the case;

      2.     The right to a speedy, public trial;

      3.     The right to have the case tried by a jury selected from a cross-section of
             the community;

      4.     That defendant would be presumed innocent, and would be found not guilty
             unless the government could prove each and every element of the offense
             beyond a reasonable doubt;

      5.     Defendant would have the right to see and hear all of the government’s
             witnesses, and defendant’s attorney would have the right to cross-examine
             any witnesses called by the government;

      6.     That defendant would have the right to subpoena witnesses to testify at the
             trial and if defendant could not afford to pay the costs of bringing these
             witnesses to court, then the government would pay those costs;

      7.     That defendant would have the privilege against self-incrimination; i.e.,
             defendant could choose to testify at trial, but need not do so; if defendant
             chose not to testify, then the Court would instruct the jury that it could not
             draw any adverse inference from defendant’s decision not to testify;

      8.     That any verdict by the jury would have to be unanimous;



                                            2

      Case 6:18-cr-02002-LRR-MAR Document 53 Filed 08/01/18 Page 2 of 5
       9.     That defendant would have the right to appeal, and if defendant could not
              afford an attorney for the appeal, then the government would pay the costs
              of an attorney to prepare the appeal.

       I explained that if defendant pleaded guilty, defendant would be giving up all of
these rights, there would be no trial, and defendant would be adjudged guilty just as if
defendant had gone to trial and a jury returned a guilty verdict against defendant.
       I determined that defendant was not pleading guilty pursuant to a plea agreement.
       I summarized the charge against defendant, and listed the elements of the crime
charged. I determined that defendant understood each and every element of the crime,
and defendant’s counsel confirmed that defendant understood each and every element of
the crime charged. For each offense to which defendant was pleading guilty, I elicited a
full and complete factual basis for all elements of the crime charged in the Indictment.
Defendant’s attorney indicated that the offense to which defendant was pleading guilty
was factually supported.
       I explained to defendant that the district judge would determine the appropriate
sentence at the sentencing hearing. I explained that the Court will use the advisory United
States Sentencing Guidelines to calculate defendant’s sentence. I explained that the
sentence imposed might be different from what the advisory guidelines suggested it
should be, and may be different from what defendant’s attorney had estimated.             I
explained that a probation officer would prepare a written presentence investigation report
and that defendant and defendant’s counsel would have an opportunity to read the
presentence report before the sentencing hearing, and would have the opportunity to
object to the contents of the report. I further explained that defendant and defendant’s
counsel would be afforded the opportunity to present evidence and be heard at the
sentencing hearing.
       I advised defendant of the consequences of the guilty plea, including the maximum
fine, the maximum term of imprisonment, the mandatory minimum term of


                                            3

      Case 6:18-cr-02002-LRR-MAR Document 53 Filed 08/01/18 Page 3 of 5
imprisonment, term of supervised release. Specifically, I advised defendant that Count
One (1) of the Indictment is punishable by a mandatory minimum sentence of twenty
(20) years in prison and up to life in prison without the possibility of parole; a period of
supervised release following prison of at least ten (10) years and up to life on supervised
release; and a fine of up to $20,000,000. I also advised defendant that the Court will
impose a mandatory special assessment of $100.00, which defendant must pay. I also
advised defendant of the collateral consequences of pleading guilty.             Defendant
acknowledged understanding all of the above consequences.
       I explained that the Court will impose conditions of supervised release, and that if
defendant violates a condition of supervised release, then the Court could revoke
defendant’s supervised release and require defendant to serve all or part of the term of
supervised release in prison, without credit for time previously served on supervised
release. I advised defendant that there is no parole in the federal system.
       I also explained that both defendant and the government would have the right to
appeal the sentence.
       Defendant confirmed that the decision to plead guilty was voluntary and was not
the result of any promises, and the decision to plead guilty was not the result of anyone
threatening, forcing, or pressuring defendant to plead guilty. I explained that after the
district judge accepted defendant’s guilty plea, defendant would have no right to withdraw
the plea at a later date, even if the sentence imposed was different from what defendant
anticipated.
       Defendant confirmed that defendant still wished to plead guilty, and defendant
pled guilty to Count One (1) of the Indictment.
       I find the following with respect to each guilty plea:
       1.      Defendant’s plea is voluntary, knowing, not the result of force, threats or
               promises, and defendant is fully competent.

       2.      Defendant is aware of the minimum and maximum punishment.

                                             4

      Case 6:18-cr-02002-LRR-MAR Document 53 Filed 08/01/18 Page 4 of 5
      3.     Defendant knows of and voluntarily waived defendant’s jury trial rights.

      4.     There is a factual basis for the plea.

      5.     Defendant is guilty of each crime to which defendant pled guilty.


      I explained that the parties have 14 days from the filing of this Report and
Recommendation to file any objections to my findings, and that if no objections are made,
then the district judge may accept defendant’s guilty plea by simply entering a written
order doing so.
      United States v. Cortez-Hernandez, 673 Fed. App’x 587 (8th Cir. 2016) (per
curiam), suggests that a defendant may have the right to de novo review of a magistrate
judge’s recommendation to accept a plea of guilty even if no objection is filed. But see
28 U.S.C. § 636(b)(1); FED. R. CRIM. P. 59(b). The district court judge will undertake
a de novo review of the Report and Recommendation if a written request for such review
is filed within fourteen (14) days after this report and recommendation is filed.
      DONE AND ENTERED at Cedar Rapids, Iowa, this 1st day of August, 2018.




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                                         C.J. Williams
                                         Chief United States Magistrate Judge
                                         Northern District of Iowa




                                            5

      Case 6:18-cr-02002-LRR-MAR Document 53 Filed 08/01/18 Page 5 of 5
